                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             NORTHERN DMSION
                               No. 2:10-CR-59-D



UNITED STATES OF AMERICA,                 )
                                          )
                v.                        )              ORDER
                                          )
GARY FRANCIS COOPER,                      )
                                          )
                          Defendant.      )


      The United States shall file a response to defendant's motion for compassionate release

under the First Step Act [D.E. 287]. The response is due not later than October 9, 2020.

       SO ORDERED. This J.fl... day of September 2020.



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                                                     ~ s c: ~E~Rill
                                                     United States District Judge




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